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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                                 Case No. 10-CR-0031(2) (PJS/AJB)
                                                            Case No. 12-CV-1319 (PJS)
                        Plaintiff,

 v.                                                                   ORDER

 EDVIN EMANUEL GOMEZ
 MALDONADO,

                        Defendant.

       Edvin Emanuel Gomez Maldonado, defendant pro se.

       Defendant Edvin Maldonado was convicted by a jury of one count of conspiring to

distribute methamphetamine and two counts of distributing methamphetamine. The Court

sentenced Maldonado to 80 months in prison and 5 years of supervised release. Maldonado’s

conviction and sentence were affirmed on direct appeal. See United States v. Garcia, 646 F.3d

1061 (8th Cir. 2011).

       This matter is before the Court on Maldonado’s motion, pursuant to 28 U.S.C. § 2255, to

vacate, set aside, or correct his sentence. For the reasons stated below, the motion is denied.

Because the record conclusively demonstrates that Maldonado is not entitled to relief, no hearing

is necessary. 28 U.S.C. § 2255(b); Noe v. United States, 601 F.3d 784, 792 (8th Cir. 2010).

       Maldonado seeks relief on two grounds: First, he claims that his trial counsel, Stephen

Walburg, was ineffective because Walburg failed to inform him of the benefits and consequences

of going to trial rather than pleading guilty. Second, he claims that Walburg was ineffective

because Walburg failed to argue at sentencing that Maldonado is eligible for a role reduction

under U.S.S.G. § 3B1.2.
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       With respect to the second ground: Maldonado’s allegation is contradicted by the record,

which establishes that Walburg did, in fact, seek a role reduction under § 3B1.2. See ECF

No. 170 at 5; see also Addendum to Revised Presentence Report (on file with the Court).

Maldonado is therefore not entitled to relief on this ground.

       With respect to the first ground: Maldonado does not allege that the government offered

him a plea agreement or that, had Walburg properly advised him, he would have accepted the

government’s offer and pleaded guilty. Setting that aside, the Court sentenced Maldonado to

80 months, which represents a downward variance from the applicable range of 97-121 months,

and which is within the range that would have applied if Maldonado had pleaded guilty and

received credit for acceptance of responsibility.

       Because Maldonado has not alleged that he would have pleaded guilty and cannot show

that he would have received a shorter sentence if he had pleaded guilty, Maldonado cannot

establish prejudice. Cf. Lafler v. Cooper, 132 S. Ct. 1376, 1385 (2012) (where a petitioner

alleges that his counsel’s ineffective assistance caused him to go to trial rather than plead guilty,

the petitioner must establish, among other things, that he would have pleaded guilty and that the

conviction, sentence, or both would have been less severe than what was in fact imposed).

Maldonado’s § 2255 motion is therefore without merit and is denied.

                                              ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      Defendant’s motion to vacate, set aside, or correct his sentence under 28 U.S.C.

               § 2255 [ECF No. 186] is DENIED.


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     2.     No certificate of appealability will issue.

     LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: June 5 , 2012                             s/Patrick J. Schiltz
                                                 Patrick J. Schiltz
                                                 United States District Judge




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